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ron THE MIDDLE omch or TENNESSQE\\\BCT 15 AH 9= 29

NASHVILLE DIVISI , *~_"'M'i RGURT
ON n\\jt`)$éf\)zi~?)§smm oF w
SHAWNELLIAS BURGESS, CAS£ NO. 3:_2014-CV-01676
PLAINTIFF,
v.
ALLY BANK AMENDED COMPLAINT FOR
CIVlL DAMAGES
DEF£NDANT. )URY DEMAND

]URISDIC'I`ION AND VENUE

 

l) THIS coURT HAs sUB]EcT MATTER }URISDICHON ov£R THE PLAlNTIFF's cLAIMs
PURSUANT ro 28 U.S.C. § 1331, 28 U.S.C. § 1441 (A) & (B), 15 U.S.C. §
1681(P), AND 15 U.S.C. § 1691(E).

2) VENUE IN THE MIDDLE DISTRICT OF T£NNESS£E ls PROPER PuRsUANT TO 28
U.S.C. § 1391 (B) & (c).

PLAINTIFI~`
3) PLAlNTIF, SHAWN£LLIAS BURGESS, ls A CIlel-:N or TH£ sTATE or T£NN£ssEl-:.
DEFENDANT

4) ALLY BANI< ls A UNIT or ALLY FINANCIAL, HEADQUARTERED 1N DETROIT,
MICHIGAN, wHICH BECAME A BANK HOLD!NG COMI>ANY IN DECEMBER 2008.
TH£ BANK ls HEADQUARTF.RED IN MleALE, UTAH.

' sERvIcE of PRocEss

5) THIS AMENDED COMPLAINT sHALL B£ sERvED 0N jH£ DEF£NDANT PURSUANT

To TENNESSEE CIVIL PROCEDURES RULE 5.2(1) THROUGH TH; Aq¢oRNlj;¢Yw orr

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]URY DEMAND

6) PURSUANT To FEDERAL RULES 0F CIVIL PROCEDURE #38, PLAINTIFF sEl-:l<s
A TRlAL BY }URY.

FACTS

7) PLAlNTlFr WAs A BANI<ING/cHEcKING AccoUNT cUsToMER or ALLY BANI<
FOR APPROXIMATELY 5 VEARS.

8) ALLY's DEPOSIT AGR£EMENT PoLICIEs WHICH INCLUDE ELECTRONIC FUND
TRANSACTIONS ARE AvAlLABLE oNLINE AND PROVIDED To lTs CUSTOM£RS
ANNUALLY. (SEE EXHIBIT 1, PAGE 19)

9) PLAINTIFF HAs HAD REG E/EFT CLAIMS HANDL£D BY ALLY THROUGHOUT
THEIR RELATloNSHlP.

10) PLAINTIFr's PAST EFT (ELECTRONIC FUND TRANSF£RS) DISPUTES (PRloR
To 2014) W£RE HANDLl-;D AccoRDING To BoTH Rl-;G E. AND ALLY's
PUBLlsHED DISI>UTE POLICY.

ll) ALLY's CURR£NT PROCEDURES FOR HANDLING ELECTRONIC FuNDs/D£BIT
CARD DISPUTES DIFFERS FROM ALLY's PUBLISH£D PoLchEs.

A. AccoRDlNG To ALLY's CORPORATE ATTORNEY, ALLY HAs Two
sETs or £RROR RESOLUTION RULES. (SEE EXHIB!T 2)

I. PuRsUANT To THOSE ALLY RULES - IF A CHARGl-; WAS
UNAUTHORIZED BY THE CUSTOMER; IT FALLS UNDER R£G E. -
IF THE cHARG£ WAS AUTHORIZED BY THE CUSTOMER; IT
FALLS UNDER VIsA/MASTERCARD RULl-;s.

11. PLAlNTIFF sTATEs THAT ALLY ls FUNDAM£NTALLY 1Nc0RR£cT
lN THl-; APPLICATION or REG E roR DISPUTES BUT THAT
"i§'s'UE'*iS' MOOT."

12) ALLY's ACTIONS vloLATE BOTH STATE AND FEDERAL LAW.

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1 REG E VIOLATIONS
B)R£G E s£CTION 205.8 REQU!RES A FINANCIAL INSTITUTION To PROVIDE
NOTICE OF CHANGE IN TERMS wHEREBY THE LIABILITY ls lNcREAs£D FOR
THl-; coNSUMER AND THl-: PUBLICATION or AN ERROR RESOLUTION NOTICE.

A. PLAINTIFP cLAIMs THAT ALLY BANK DID NoT PRoleE ANY sUCH
NOTICE P£RTAINING To THE cHANG£ IN TERMS wITH Rl-;GARDS To
How 1T HANDLES ELECTRoNIC l~`UNDs TRANsH-:R DISPUTES.

I. PLAINTIFF HAS HAD REG E DIsPUTl-;s IN THE PAST AND THEY
wERE NOT HANDLED IN THl-; sAME WAY IT wAs HANDLED IN
2014.

B. PLAINTIFF cLAIMs THAT ALLY BANK's ERROR REsoLUTION NOTICE
PROVID£D TO PLAINTIFF WHICH Is AVAILABLE oNLlN£ wAsN'T THE
ERROR RESOLUTION PRocEDUREs THAT W£RE FOLLOWED WHEN HE
DISPUTED CHARGES IN 2014.

c. PLAlNTlFF cLAIMs THAT ALLY HASN'T PROVID£D TH£ REQuIR£D
ERROR REsoLUTloN NOTICE REQUIRED UND£R Rl-;G E.

D. PLAINTIFF cLAIMs THAT THERE’s No MENTIoN or A ”MERCHANT
DISPIJTl-;” IN ANY 0F ALLY’s REG E NOTICES.

£. PLAINTIFF cLAIMs THAT ALLY Dol-:sN'T Dl-;FINE wHAT A “MERCHANT
DISPUTE" ls, WH£N IT ls EMPLOYF.D, HOW IT ls EMPLOYED, WHAT
TRlGGERs IT, AND How IT CAN BE AvoIDED WHl-;N IT PERTAINS To
EFT DIsPuTEs.

F. PLAlNTIFF cLAlMs THAT ALL¥ BANK HAs UNILATERALLY cHANG£D

WHAT A REG E DISPUTE ls FoR ALLY CUSTOMERS. AccoRDlNG To

" AI:[Y'§WCOKI*JGRATE '¢ATT'OR'NEY," Il" 'PI;AINTIFF `AUTHOR'lZES' "A"`$'l'e " m ' "

PAYMENT AND THE MERCHANT CHARGES $41, IT BECOMES A

MERCHANT DISPIJTE As A MATTER or LAW. (Sl-;l-; EXHIBIT Z)

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1. THIS ls DIFFERS GREATLY FROM THE BANKING INDusTRY
DEHNITION or A ”MERCHANT DISPUTE”. ACCORDING To THl-;
INDUSTRY A MERCHANT DISPUTE ls wH£RE A cUsToMER
DISPUTES THE QUALITY 0R QUANTITY or THE
MERCHANDIS£/s£kvlc£. (S£l-: EXHIBT 3, PARTICULARLY THl-:
HlGHLIGHTl-;D PoRTloNs & PAGES 14-15). IT ALso DIFF£RS

FROM THE LANGUAGE or R£G E. (SEE REGULATION E)

VIOLATIONS Ol-` UDAAP UNDER DODD-FRANK ACT
14) PLAINTIFF cLAIMs THAT ALLY BANK HAS vloLATED THE UNFAIR,
DECEPTIVE, ABUSIVE AcTs 0R PRACTlcEs UNDER THE DoDD-FRANI< AcT
WHICH MANDATES THAT ALL coNsUMl-:R FINANCIAL PRoDUcTs & sEvacEs
AR£ FAIR.
A. ALLY BANK Do£sN'T FOLLOW TH]F. ERROR PROCEDURES 11

PROVIDED To PLAINTIFF.

VIOLATIONS OF TENNESSEE'S UDAP (T.C.A 47-18-104)
15) PLAINTIFF CLAIMS THAT ALLY BANI< HAs vloLATl-;D TN's UDAP.
A. ALLY BANI< DOESN'T FOLLOW THE ERROR PROC£DURES IT
PROVIDED To PLAINTIFF.
l-`RAUD
16) PLAINTIFF CLAIMS THAT ALLY BANK HAS COMMITTED FRAUD.
A. ALLY BANK's ANNUAL ERROR No'rlcl~; ls FRAUDULENT.
B. ALLY BANK DoEsN'T FOLLOW THE ERROR PRocl-;DURES 1T

' PROVIDED~ 'To'*PI;AINTIFF. "

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BREACH OI" CONTRACT
17) PLAINTIFF CLAIMS THAT ALLY BREACHl-:D TH£ CoNTRACT B£TWEEN TH£
PARTIES BY Nor FoLLowlNG TH£ T£RMS 0UTL1N£D IN ALLY”s DEPOSIT
AGR£EMx-;NT.
CLASS ACTION
ls)BECAUsl-: mls ls A sYsT£Mlc PoLlcY £MPLoYED BY ALLY BANK, PLAINT!FF
Bl-;LIEVES THERE ARE MORE INDIVIDIJALS AFFEC?ED AND THUS sHALL BE

MAKING A MOTION WITH THE COURT FOR CLASS AC'l`ION S'l`ATUS SHORTLY.

THE COURT'S POWER TO GRANT RELIEI"
IQ)PURSUANT TO § 916(G) OF REG. E AND ANY O'I`HER PERTINENT FEDERAL

AND STATE LAWS 'l`HIS COURT HAS 'l`HE POWER 'l`O GRANT RELIEI".

PRAYS FOR RELIEI"

WHEREFOR£, THE PLAlNTIFF, SHAWNELLIAS BURGESS, PURSUANT To
Rl-:GULATION E, HSDERAL UDAAP, TENNESSEE UDAP, TENNl-:ss££ LAW AND me

COURT'S OWN EQUITABLE POWERS, REQUESTS 'l`HIS COURT:

l. AWARD PLAINTlI-`P $160,000 IN PUNITIVE DAMAGES,

2. AWARD PLAINTIFF ALL AVAILABL£ STATUTORY DAMAGES,

3. AWARD PLAINTIFF ALL AVAILABLE NoMINAL DAMAGES,

4. AWARD PLAlNTIFF TREBLE DAMAGES PURSUANT To § 908(£) or REG E.

5. AWARD PLAlNTIFF THE coST 0F BRINGING THI$VVVVA¢C"UQN

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6. AWARD PLAINTIFI" REASONABLE AT'I`ORNEY FEES, AS WELL AS SUCH
OTHER AND ADDITIONAL RELIEI" AS THE COURT MAY DETERM[NE TO BE

lusT AND PROPER.

RESPECTFULLY sUBMlTTED THIS THE 15TH DAY or OCTOBER, 2014 BY:

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M¢/M»!£/H/

SHAWNELLIAS BURGESS - PRO SE

 

3040 CODY HILL RoAD
NASHVILLE, TN 37le
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This is To certify That a copy of The following Comp|ain'r has been served by first-class mail on

10/15/14 upon:

D. i-iiah` Co||ins

Gu||eh‘ Sanford Robinson 81 Martin, PLLC
150 Third Ave. Sou'rh, SuiTe 1700

Nashviile, TN 37ZOI

 

 

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